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 1 LAW OFFICES OF CHRIS COSCA
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   (916) 440-1010
 4 Attorney for Defendant
   JAMES RANDOLPH SHERMAN
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 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                       2:13-CR-00302 MCE
11                                  Plaintiff,       AMENDED STIPULATION REGARDING
                                                     EXCLUDABLE TIME PERIODS UNDER
12                           v.                      SPEEDY TRIAL ACT; ORDER
13   JAMES RANDOLPH SHERMAN,                         DATE: June 1, 2017
                                                     TIME:  10:00 a.m.
14                                  Defendant.       COURT: Hon. Morrison C. England, Jr.
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16
17                                               STIPULATION
18         1.      By previous order, this matter was set for status on June 1, 2017.
19         2.      By this stipulation, the parties now move to continue the status conference to
20 July 13, 2017 and to exclude time between June 1, 2017 and July 13, 2017, under Local Code
21 T4.
22         3.      The parties agree and stipulate, and request that the Court find the following:
23                 a)     Discovery associated with this case includes 146 pages and multiple
24         CD/DVDs, some of which include lengthy surveillance, video and audio. This discovery
25         has been either produced directly to counsel and/or made available for inspection and
26         copying.
27                 b)     Defense counsel desires additional time to review discovery, investigate,
28         and to confer with his client concerning discovery, investigation, potential options for the

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 1        defense and trial preparation.

 2                c)      Counsel for defendant believes that failure to grant the above-requested

 3        continuance would deny counsel the reasonable time necessary for effective

 4        preparation, taking into account the exercise of due diligence.

 5                d)      The government does not object to the continuance.

 6                e)      Based on the above-stated findings, the ends of justice served by

 7        continuing the case as requested outweigh the interest of the public and the defendant

 8        in a trial within the original date prescribed by the Speedy Trial Act.

 9                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

10        § 3161, et seq., within which trial must commence, the time period of June 1, 2017 to

11        July 13, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

12        B(iv) [Local Code T4] because it results from a continuance granted by the Court at

13        defendants’ request on the basis of the Court’s finding that the ends of justice served by

14        taking such action outweigh the best interest of the public and the defendant in a

15        speedy trial.

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 1         4.      Nothing in this stipulation and order shall preclude a finding that other provisions

 2 of the Speedy Trial Act dictate that additional time periods are excludable from the period
 3 within which a trial must commence.
 4         IT IS SO STIPULATED.

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 6
     Dated: May 30, 2017                                 /s/ Chris Cosca for
 7                                                       JASON HITT
                                                         Assistant United States
 8                                                       Attorney
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10
11 Dated: May 30, 2017                                   /s/ Chris Cosca
                                                         CHRIS COSCA
12
                                                         Counsel for Defendant
13                                                       JAMES SHERMAN

14
15                                                ORDER

16         IT IS SO ORDERED.

17 Dated: May 31, 2017
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      STIPULATION TO CONTINUE STATUS CONF            3
